  Case 15-35434       Doc 37   Filed 03/15/16 Entered 03/16/16 11:25:10              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:     15-35434
Torrey L Loggins                              )
                                              )               Chapter: 13
                                              )
                                                              Honorable A. Benjamin Goldgar
                                              )
                                              )
               Debtor(s)                      )

                                        Order Confirming Plan

         The plan under Chapter 13 of the Bankruptcy code, filed as docket no. 23, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.

All property of the estate, as specified by the 11 U.S.C. section 541 and 1306, will continue to be
property of the estate following confirmation, unless (1) the plan provides for surrender of the property,
or (2) the property is sold pursuant to the plan or court order.

  On or before April 20th of the year following the filing of the case and each year thereafter, the
Debtor(s) shall submit a copy of the prior year's filed federal tax return to the Chapter 13 Trustee. The
Debtor(s) shall further tender the full amount of each year's tax refund received while the case is
pending to the Chapter 13 Trustee. The tax refunds shall be treated as additional payments into the plan
and must be submitted within 7 (seven) days of receipt of each such refunds by the Debtor(s).



                                                           Enter:


                                                                    Honorable Bruce W. Black
Dated: March 15, 2016                                               United States Bankruptcy Judge
